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                              UNITED STATES DISTRICT COURT

                                             FOR THE

                                      DISTRICT OF MAINE

*****************************
THOMAS E. PEREZ, Secretary of Labor,    *
United States Department of Labor,      *
                                        *
                             Plaintiff, *
                                        *                      CIVIL NO. 1:15-cv-513-DBH
       v.                               *
                                        *
ROOF SYSTEMS OF MAINE                   *
                                        *
                             Defendant. *
*****************************

                                            JUDGMENT

       Plaintiff Thomas E. Perez, Secretary of Labor, (“the Secretary”) has filed a complaint

under the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. §§201, et seq., (“the Act”);

and Defendant Roof Systems of Maine has appeared by counsel, received a copy thereof, and

waived service of process. Defendant, without admitting liability, but to achieve a prompt and

efficient resolution of this dispute, now consents to the entry of this judgment without contest.

Plaintiff also consents to entry of this judgment to fully resolve this matter.

       It is therefore ORDERED, ADJUDGED and DECREED that Defendant, its agents,

servants, employees, and all persons acting or claiming to act in its behalf and interest be, and

they hereby are, permanently enjoined and restrained from violating the provisions of the Act in

the following manner:

       Defendant shall not, contrary to sections 7 and 15(a)(2) of the Act, employ any

employees who in any workweek are engaged in commerce or in the production of goods for

commerce, or who are employed in an enterprise engaged in commerce or in the production of


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goods for commerce, within the meaning of the Act, for workweeks longer than forty hours,

unless such employee receives compensation for his employment in excess of forty (40) hours at

a rate not less than one and one-half times the regular rate at which he is employed.

        Defendant shall not fail to make, keep, and preserve records of employees and of the

wages, hours, and other conditions and practices of employment maintained by it as prescribed

by the regulations issued, and from time to time amended, pursuant to section 11(c) of the Act

and found in 29 CFR Part 516.

        Further, the Court finding as agreed to by Defendant, but without its admitting liability

therefor, that employees are due compensation in the amount of $48,603.77 as wages and in the

additional amount of $48,603.77 as liquidated damages, as shown on attached "Exhibit A" which

is incorporated in and made a part hereof, it is, therefore ORDERED, ADJUDGED and

DECREED that the defendant is restrained from withholding payment of said compensation.

        Defendant represents that it has been in compliance with the Act since June 8, 2015. In

resolving the amount of back wages and liquidated damages in this judgment, Plaintiff has relied

on this representation. Accordingly, the parties agree that any action for back wages which may

have accrued between June 8, 2015, and June 7, 2018, shall be unaffected by this judgment and

shall be subject to a three year statute of limitations.

        The back wage and liquidated damages provisions of this Judgment shall be deemed

satisfied by Defendant upon the following:

        Defendant shall provide a schedule, in duplicate, showing the name, last known address,

social security number, gross amount of wages due, amounts deducted therefrom for social

security and withholding taxes, and the net amount of such payment to each employee listed on

Exhibit A (attached hereto). Said schedule shall be forwarded to the U.S. Department of Labor,




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Wage and Hour Division, 1155 Elm Street, Suite 501, Manchester, New Hampshire 03101,

within fifteen (15) days of the entry of this Judgment.

       Defendant shall issue two separate checks payable to each employee listed in Exhibit A,

one check in the gross amount of liquidated damages due each employee, and one check in the

net amount of back wages due, after deducting the amount of legal deductions and other

withholdings required by law. Said deductions shall be paid by Defendant to the appropriate

authorities as required by law.

               1.      All checks are to be delivered in person or sent via First Class or certified

       mail, postage prepaid, to the employees listed on Exhibit A within thirty (30) days of the

       entry of this Judgment. These individual checks shall be void if they are not cashed

       within sixty (60) days of their issuance, and the face of the checks shall reflect this

       deadline. Alternatively, checks may be paid through Roof Systems of Maine’s direct

       deposit system within the 30 day time period.

               2.      If any individual checks become void, or if checks are returned to

       Defendant and Defendant is unable to resend them to the employee a more current

       address within the sixty (60) day period, the amount of all void or returned checks shall

       be combined into one aggregate net check, made payable to the “U.S. Department of

       Labor – Wage and Hour Division,” and delivered to the U.S. Department of Labor, Wage

       and Hour Division, at the address listed in subparagraph A, above, within ninety (90)

       days of entry of this Judgment. The check containing the sum of the unnegotiated checks

       shall be accompanied by a letter identifying the case name as Perez v. Roof Systems of

       Maine, and include Defendant’s tax identification number and a list of all employees for

       whom money is deposited with Plaintiff and the amount for each employee.




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               3.      Further, Defendant shall forward copies of the front and back of the

       checks, check stubs, and/or a copy of the payroll register and signed copies of the WH-58

       Receipt Form, which shall accompany all back wage checks distributed, to the U.S.

       Department of Labor, Wage and Hour Division, within sixty (60) days of entry of this

       Judgment.

       Plaintiff shall distribute the proceeds of the checks referred to in Paragraph (2), to the

employees listed or to their estates, if that be necessary. Any back wage or liquidated damages

checks that cannot be distributed within three years to the employees named in "Exhibit A", or to

their estates if that be necessary, because of inability of the parties to locate the proper persons,

or because of such persons' refusal to accept such sums, shall be deposited with the Clerk of this

Court who shall forthwith deposit such money with the Treasurer of the United States, pursuant

to 28 U.S.C. §2041.

       Further, the Court finding, as agreed to by the parties, that on September 17, 2015, the

Wage and Hour Administrator by his designee assessed civil money penalties against Defendant

pursuant to section 16(e) of the Act and 29 C.F.R. Part 579; that on September 29, 2015,

Defendant timely filed exceptions thereto pursuant to section 16(e)(4) of the Act and 29 C.F.R.

Part 580 and requested a de novo hearing, so that under 29 C.F.R. §580.6 the Administrator’s

determination of civil money penalties is inoperative unless or until the case is dismissed or an

Administrative Law Judge issues a decision affirming the determination; that an administrative

proceeding as to civil money penalties under 29 C.F.R. Part 580 remains pending; that the parties

have agreed to resolve their differences concerning payment to the Secretary, without admission

of liability therefor, by Defendant withdrawing its request for a de novo hearing and paying to

the Secretary by agreement a reduced compromise amount of Twenty-Three Thousand One

Hundred Eighty-Eight Dollars ($23,188), allocated to reimbursement of the costs of the


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Secretary consistent with section 16(e)(5) of the Act; it is, therefore ORDERED, ADJUDGED

and DECREED that Defendant shall pay the sum of Twenty-Three Thousand One Hundred

Eighty-Eight Dollars ($23,188) by check or money order payable to “Wage and Hour Division,

U.S. Department of Labor,” to be delivered or mailed within thirty (30) days of entry of this

Judgment to Wage and Hour Division, Northeast Regional Office, The Curtis Center, Suite 850

West, 170 S. Independence Mall West, Philadelphia, PA 19106-3317.

       Defendant shall not, under any circumstances, accept and keep any amount returned to it

by a person owed compensation under this judgment. Any such amount shall be immediately

paid to the Plaintiff at the following address:

               U.S. Department of Labor
               Wage and Hour Division
               1155 Elm Street, Suite 501
               Manchester, NH 03101

       It is further ORDERED, ADJUDGED and DECREED that each party shall bear its own

fees and other expenses incurred by such party in connection with any stage of this proceeding to

date, with no costs awarded to any party.




Dated: December 22, 2015_______                       /s/ Nancy Torresen_________________
                                                      United States Chief District Judge




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Defendant hereby consents to             Plaintiff moves for entry of
the entry of this judgment:              this judgment:


By _/s/ Frank T. McGuire__________       M. Patricia Smith
Frank T. McGuire, Esq.                   Solicitor of Labor
Rudman & Winchell
84 Harlow Street                         Michael D. Felsen
P.O. Box 1401                            Regional Solicitor
Bangor, ME 04402-1401
TEL: 207-947-4501                        _/s/ Merle Hyman____________
FAX: 207-941-9715                        Merle Hyman,
Attorneys for Defendant                  Wage and Hour Counsel
Roof Systems of Maine                    United States Department of Labor
                                         Solicitor's Office
                                         Kennedy Federal Bldg. Rm. E-375
                                         Boston, MA 02203
                                         TEL: 617-565-2500
                                         FAX: 617-565-2142
                                         Attorneys for Plaintiff




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                                 EXHIBIT A


                                                 LIQUIDATED
     FIRST NAME     LAST NAME     BACK WAGES      DAMAGES       GROSS TOTAL

    ROBERT L.      ALLEY             $3,982.14      $3,982.14      $7,964.28
    EDWARD A.      ASHTON JR.         $706.88        $706.88       $1,413.76
    ARDANE         AUSTIN               $22.42         $22.42         $44.84
    DANIEL J.      BARD               $205.24        $205.24        $410.48
    RYAN J.        BARNETT           $5,115.45      $5,115.45     $10,230.90
    NICHOLAS       BENNETT            $523.91        $523.91       $1,047.82
    ANDREW         BOUCHER            $847.89        $847.89       $1,695.78
    DALE           BRALEY               $41.24         $41.24         $82.48
    DON            BRALEY SR.         $885.56        $885.56       $1,771.12
    LORNE E.       BRIDGES            $133.24        $133.24        $266.48
    JERRY          BYRD              $2,452.08      $2,452.08      $4,904.16
    JEREMY S.      CANDAGE            $184.22        $184.22        $368.44
    WILLIAM, JR.   CHARPENTIER        $996.98        $996.98       $1,993.96
    CHRISTOPHER    CHASE                $46.17         $46.17         $92.34
    CHASTAIN       DAVID                $18.50         $18.50         $37.00
    CHARLTON C.    CHENEY II          $776.50        $776.50       $1,553.00
    TREVOR         COLE               $254.31        $254.31        $508.62
    MIKE           DAVIS                $97.24         $97.24       $194.48
    ROBERT         DICKERSON          $218.83        $218.83        $437.66
    ROLAND         DUPERRY            $150.89        $150.89        $301.78
    ROGER          FICKETT III       $2,433.99      $2,433.99      $4,867.98
    BRIAN          GARCEAU            $240.73        $240.73        $481.46
    THOMAS         GASAWAY            $480.24        $480.24        $960.48
    EDWARD A.      GERRIER            $155.01        $155.01        $310.02
    VERNON         GOGUEN             $952.79        $952.79       $1,905.58
    JUSTIN         GROVER             $461.56        $461.56        $923.12
    JOHN           HAVLIN               $16.79         $16.79         $33.58
    DAVID          HAZELTON          $2,179.97      $2,179.97      $4,359.94
    CHRISTOPHER    HEBERT             $915.52        $915.52       $1,831.04
    JOSEPH         HOSKINS            $103.46        $103.46        $206.92
    NATHAN         KING               $752.12        $752.12       $1,504.24
    SCOTT          KING               $160.96        $160.96        $321.92
    CODY           KINGSBURY          $181.24        $181.24        $362.48
    HAYWARD        KINGSBURY          $422.39        $422.39        $844.78
    JOSEPH         KOBRIN             $549.37        $549.37       $1,098.74
    DAVID          LABREE               $49.49         $49.49         $98.98
    PHILIP J.      LAWSON             $462.54        $462.54        $925.08
    RALPH          MACDONALD          $124.16        $124.16        $248.32
    ZACHARY        MACKLIN            $399.00        $399.00        $798.00
    KRIST          MALLORY            $480.87        $480.87        $961.74

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    RONALD J.     MALLOZZI           $320.17      $320.17        $640.34
    JEREMY S.     MCCLURE           $1,423.12    $1,423.12      $2,846.24
    BRIAN         MCLAUGHLIN         $784.64      $784.64       $1,569.28
    GEOFFREY      MILLER            $1,946.55    $1,946.55      $3,893.10
    DARWIN        MORSE JR          $1,143.66    $1,143.66      $2,287.32
    DANIEL        NEWMAN             $109.24      $109.24        $218.48
    GARY          POULIN            $2,451.41    $2,451.41      $4,902.82
    WILLIAM       RIORDAN            $726.84      $726.84       $1,453.68
    JOSEPH        SALLS             $3,819.56    $3,819.56      $7,639.12
    JEROME        SANFORD           $1,679.52    $1,679.52      $3,359.04
    RALPH         SOCTOMAH           $388.61      $388.61        $777.22
    OTTIE         SPENCER            $501.23      $501.23       $1,002.46
    DANIEL        SULLIVAN           $762.35      $762.35       $1,524.70
    JERRY         THOMAS             $618.71      $618.71       $1,237.42
    JOHN          TRACY              $317.98      $317.98        $635.96
    MICHAEL       TRACY                $82.18       $82.18       $164.36
    STEVEN        URQUHART          $1,341.35    $1,341.35      $2,682.70
    KIMBALL       WALKER             $403.48      $403.48        $806.96
    LEE           WALKER             $138.70      $138.70        $277.40
    CARLYLE       WEEKS              $138.16      $138.16        $276.32
    MIKE          WEEKS              $277.15      $277.15        $554.30
    ANDREW        WILL                 $47.27       $47.27         $94.54

    TOTALS                         $48,603.77   $48,603.77     $97,207.54




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